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DECLARATION OF ERIC C. BJORNLUND

I, Eric C. Bjornlund, declare as follows:

1. I am President and CEO of Democracy International, Inc. (“Democracy
International” or “DI’”’). The statements made in this declaration are based on my personal
knowledge and my understanding of information made available to me pursuant to my duties at
DI.

2. Democracy International is a U.S.-based small business headquartered in
Bethesda, Maryland. DI is an international development consulting firm that supports active
citizens, responsive governments, and engaged civil society and political organizations to
achieve a more peaceful, democratic world. The company provides technical assistance,
analytical services, and project implementation for democracy, human rights, governance, peace
and resilience, youth empowerment, and other international development programs worldwide.
By developing and using new knowledge, tools, and approaches, DI works to change people’s
lives and improve the effectiveness and efficiency of development assistance.

3. Approximately 96 percent of Democracy International’s approximately $41.7
million in revenues in 2024 came from prime cooperative agreements and contracts from
USAID and an additional approximately 2 percent came indirectly from USAID through
subawards and subcontracts, for a total of approximately 98 percent directly or indirectly from
USAID.

A, As of December 31, 2024, DI held prime contracts and cooperative agreements
with USAID with a remaining combined obligated amount of $35,859,919; a total combined
obligated amount of $107,166,273; and a total ceiling amount of $244,679,239.

5. Between January 24 and 27, 2025, DI received stop work orders for all of its
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USAID contracts and suspension notices for all of its USAID cooperative agreements.

6. DI has not received any payments from USAID or the State Department since the
TRO was issued in this case on February 13, 2025.

7. DI has over $3 million in invoices and draws submitted to USAID for work
completed prior to January 24, 2025. DI has not received any payments for those invoices and

draws.

I declare under penalty of perjury that the foregoing is true and correct.

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Eric C. Bjornlund
President and CEO
Democracy International, Inc.

Executed on February 20, 2025, in Bethesda, Maryland.

